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                           UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

United States of America,                                  Criminal No.: 9:23-cr-00396-RMG

v.                                                         DEFENDANT’S MOTION FOR
                                                            IMMEDIATE SEIZURE OF
Richard Alexander Murdaugh,                                  DEFENDANT’S ASSETS

                 Defendant.


        Defendant Richard Alexander Murdaugh, pursuant to Rule 32.2 of the Federal Rules of

Criminal Procedure, moves the Court for an order directing the U.S. Marshals Service or other

appropriate federal officers to immediately seize all assets held by Peter M. McCoy and John T.

Lay in their capacities as Co-Receivers for Mr. Murdaugh’s assets (the “Murdaugh Funds”), per

order of appointment issued on motion of the plaintiff in Beach v. Parker, et al., Case No. 2019-

CP-25-00111 (S.C. Ct. Com. Pl. (Hampton Cnty.), Nov. 4, 2021), 1 and to place the Murdaugh

Funds in the exclusive custody and control of the United States of America. He further moves the

Court to order the Co-Receivers to provide an accounting to the Court and the Parties of all assets

in the Receivership and all disbursements, payments, or other transfers from the Receivership

occurring after the indictments in this matter were unsealed.

        To the extent any funds in the Receivership are traceable to financial crimes committed by

Mr. Murdaugh, title transferred to the United States when the crimes were committed. 21 U.S.C.

§ 853(c) (“All right, title, and interest in property [subject to criminal forfeiture] vests in the United

States upon the commission of the act giving rise to forfeiture under this section.”). The Court

determined that a minimum of $7,641,707.09—an amount far exceeding the Murdaugh Funds—



1 The plaintiff in Satterfield
                          v. Murdaugh, et al., Case No. 2019-CP-25-00298 (S.C. Ct. Com. Pl.
(Hampton Cnty.)) also moved for appointment of the Co-Receivers.
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is subject to forfeiture and entered a preliminary order for its seizure. ECF No. 42. Thus, while

all other funds in the Receivership belonged to Mr. Murdaugh at least until the Court entered the

preliminary order of seizure, title to those funds has transferred, or very shortly and inevitably will

transfer, to the United States except to the extent third parties are able to show a superior interest

in ancillary proceedings. See Order, ECF No. 42; 21 U.S.C. §§ 853(n), (p); Fed. R. Crim. P.

32.2(c); Beach, Hearing Tr. 12:5–6, May 3, 2023 (the receivership court noting the money in the

receivership “legally and technically right now is still his,” referring to Mr. Murdaugh) (attached

as Exhibit A).

       The Murdaugh Funds therefore will be seized by the United States. Mr. Murdaugh brings

the present motion for immediate seizure because the Murdaugh Funds are at risk of substantial

dissipation and waste without the Court’s immediate action. The Murdaugh Funds originally

constituted $2,163,396.08. Co-Receivers’ Fourth Status Report, Beach, Aug. 4, 2023. Of that, the

Co-Receivers have disbursed $408,153.58 to themselves from the Murdaugh Funds. Id. They

have requested another $253,294.17. Id. They have also requested, and the receivership court has

ordered, the appointment of another expensive private attorney to serve as Special Referee for the

distribution of the funds to third parties. Order Entering Scheduling Order and Appointing Special

Referee to Administer the Claims Process, Beach, Sept. 19, 2023. The Special Referee likely will

cost several hundred thousand dollars more.         See id. at 3 (“The Special Referee shall be

compensated from Receivership Funds according to his standard hourly rates commonly and

reasonably applied.”). The receivership court has ordered all third parties asserting claims against

the Murdaugh Funds to submit “proofs of claim” by October 29, 2023. The United States,

however, will perform the same function in ancillary proceedings for free. See 21 U.S.C. § 853(n);

Fed. R. Crim. P. 32.2(c).
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       Additionally, an accounting is necessary. First, an accounting is needed to ensure all assets

have been seized. Second, the publication of the indictments and their forfeiture allegations put

the Co-Receivers on notice of the United States’ interest in the Murdaugh Funds. Payments or

transfers after then might be subject to a claw back. But there presumably were legitimate

payments during the relevant period, so whether any such transfers would be subject to a claw

back would depend upon the nature and purpose of the transaction as explained by an accounting.

       The United States will maintain and distribute the Murdaugh Funds in strict compliance

with the law, respecting all legitimate third-party interests and providing restitution to victims to

the extent possible, without need of the services of private attorneys whose fees would further

dissipate the Murdaugh Funds. It is inappropriate for the asset forfeiture imposed as part of the

conviction and sentence for numerous federal felonies to be managed by private attorneys

appointed on the motion of private civil litigants in state court proceedings to protect their future

contingent interests in civil litigation. This Court convicted Mr. Murdaugh. No other court has

convicted Mr. Murdaugh of any financial crime. This Court entered an order for the seizure order

of his assets. No other court has instituted any criminal seizure or forfeiture proceedings regarding

his assets.   It is this Court, therefore, that must control the seizure and forfeiture of Mr.

Murdaugh’s assets.

       The Court, therefore, should order the immediate seizure of Mr. Murdaugh’s assets and an

accounting of his assets from the Co-Receivers.

                                              Respectfully submitted,

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September 25, 2023
Columbia, South Carolina.
